Case 3:09-cv-01938-RNC Document 1 Filed 11/30/09 Page 1 of 5

UNITED S'I`ATES DISTRICT C()URT
DISTRICT OF CONNECTICUT

 

P t.‘ ' Z k : . . »
alicia 611 , _ C;vilActionNo.:

Plaintiff,
v.

Academy Coliection Service, Inc.', and

oons 1_10, inclusive, § COMPLAINT

Defendants.

 

F or this Coinplaint, the Plaintiff, Patricia Zenk, by undersigned counsel, states as follows:

JURISDICTION

i. This action arises out of Defendant’s repeated violations of the Fair Debt
Coilection Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”), and the invasions of Plaintiff’ s
personal privacy by the Defenciant and its agents in their illegal efforts to collect a consumer
debt.

2. Supplemental jurisdiction exists pursuant to 28 U.S.C. § 1367.

3. Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in that the
Defendants transact business in this District and a substantial portion of the acts giving rise to

this action occurred in this District.

PARTIES

4. The Plaintiff, Patricia Zenk (“Plainti§i”), is an adult individual residing in Kent,
Connecticut, and is a “consuiner” as the tenn is defined by 15 U.S.C. § 1692a(3).
5. 'l` he Dei`endant, Academy Collection Service, lnc. (“Acadeiny”), is a

Pennsylvania business entity with an address of 10965 Decatur Road, Pliiladeiphia, Pennsylvania

Case 3:09-cv-01938-RNC Document 1 Filed 11/30/09 Page 2 of 5

19154, operating as a collection agency, and is a “debt collector” as tire term is defined by 15

U.s.c. § 16923(6).

6. Does i-lO (the “Collectors”) are individual collectors employed by Academy and
Wliose identities are currently unknown to the Plaintiff. One or more of the Collectors may be

joined as parties once their identities are disclosed through discovery.

7. Acadenly at all times acted by and through one or more of the Collectors.

ALLEGATIONS APPLIC‘ABLE TO ALL COUNTS

A. Tile Debt

8. A financial obligation Was incurred (the “Debt”).

9. Tlie Debt arose from services provided by a creditor which were primarily for

fami|y, personai or household purposes and which meets the definition of a “debt” under 15

U.S.C. § 1692a(5).

lG. Tlre Debt \vas purchased, assigned or transferred to Acaden‘iy for coilection, or

Acadeiny was employed by a creditor to collect the Debt,

11. The Defendants attempted to collect the Debt and, as such, engaged in

“connnunications” as defined in 15 U.S.C. § 1692a(2).
B. Academv Engages in Harassment and Al)usive Tactics

i2. rl`he Defendants calied the Piaintiff every day of the week, merely to annoy and

harass her. One of the Coilectors identified herself as Tara Sharp (“Tara”).

13. Tlie Defendants were rude and abusive when speaking with the Plaintiff, Tiie

Defendants asked the Plaintiff numerous personal questions such as Whether she owns a house,

increr to harass annoy her.

Case 3:09-cv-01938-RNC Document 1 Filed 11/30/09 Page 3 ot 5

14. The Defendants left numerous messages on Plaintiff’s answering machine
disclosing details of the Debt.

15. The Defendants threatened to ruin the Plaintiff’s credit rating.

16. The Defendants solicited and accepted five post-dated checks without sending the

Plaintiff written notification of their intent to deposit tire checks.

C. Plaintiff Suffcred Actual Danlages

17. The Plaintiff has suffered and continues to suffer actual damages as a result of the
Det`endants’ unlawful conduct

l8. As a direct consequence of the Defendants’ acts, practices and conduct, the
Plaintiff suffered and continues to suffer from humiliation, anger, anxiety, emotional distress,
fear, frustration and embarrassment

19. The Defendants’ conduct was so outrageous in character, and so extreme in
degree, as to go beyond all possibie bounds of decency, and to be regarded as atrocious, and

utterly intolerable in a civilized community

COUNT I
VIOLATIONS OF THE FDCPA 15 U.S.C. § 1692, et seq.

20. Plaintiff incorporates by reference all of the above paragraphs of this Complaint
as though fully stated herein.

21. The Defendants’ conduct violated 15 U.S.C. § 1692d(2) in that Defendants used
profane and abusive language when speaking with the consumer.

22. The Defendants’ conduct violated 15 U.S.C. § 1692d(5) in that Defendants caused

a phone to ring repeatedly and engaged the Piaintiff in telephone conversations, with the intent to

Case 3:09-cv-01938-RNC Document 1 Filed 11/30/09 Page 4 ot 5

annoy and harass.

23. The Defendants’ conduct violated 15 U.S.C. § 1692e(8) in that Defendants
threatened to communicate false credit information

24. The Defendants’ conduct violated 15 U.S.C. § 1692e(10) in that Defendants
employed false and deceptive means to collect a debt.

25. The Defendants’ conduct violated l5 U.S.C. § 1692f(2) in that Defendants
attempted to soiicit a post-dated check by more than tive days, without three business days
written notice of intent to deposit.

26. The foregoing acts and omissions of the Defendants constitute numerous and
multiple violations of the FDCPA, including every one of the above~cited provisions.

27. The Plaintiff is entitled to damages as a result of Defendant’s violations

COUNT II
INTENTIONAL INFLICTION OF EMOTIONAL })ISTRESS

28. Plaintiff incorporates by reference all of the above paragraphs of this Complaint
as though fully set forth herein at length.

29. The acts, practices and conduct engaged in by the Defendants vis-a-vis the
Plaintiff was so outrageous in character, and so extreme in degree, as to go beyond all possible
bounds of decency, and to be regarded as atrocious, and utterly intolerable in a civilized
community

30. The foregoing conduct constitutes the tort of intentional infliction of emotional
distress under the laws of the state of Connecticut.

31. All acts of Defendants and the Collectors complained of herein were committed

with malice, intent, wantonness, and reckiessness, and as such, Defendants are subject to

Case 3:09-cv-01938-RNC Document 1 Filed 11/30/09 Page 5 ot 5

imposition of punitive damages.

PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays that judgment be entered against the Defendants:

i.

2.

Actual damages pursuant to 15 U.S.C. § 1692k(a)(l) against the Defendants;
Statutory damages of $1,000.00 pursuant to 15 U.S.C. §l 692k(a)(2)(A)
against the Defendants;

Costs of litigation and reasonable attorney’s fees pursuant to 15 U.S.C. §
1692k(a)(3) against the Defendants;

Actual damages from the Defendants for the ail damages including
emotionai distress suffered as a result of the intentional, reckless, and/or
negligent FDCPA violations and intentional, recl<iess, and/or negligent
invasions of privacy in an amount to be determined at trial for Piaintiff;
Punitive damage; and

Such other and further relief as may bejust and proper.

TRIAL BY JURY DEMANDED ()N ALL COUN'I`S

Dated: November 25, 2009

Respectfully su n te

By i\\ /~\`___

 

Staniford, CT 06905
Telephone: (203) 653-2250
Facsimiie: (877) 795-3666
Attorney for Plaintiff

